        Case 1-24-45157-nhl                Doc 6       Filed 12/12/24      Entered 12/12/24 10:54:42




MACKEY, BUTTS & WHALEN LLP
Attorneys for Eric Goldfine, as Trustee of the Eric
    Goldfine SERPT
319 Mill Street
Poughkeepsie, NY 12601                                                          NOTICE OF APPEARANCE
(845) 452-4000
RICHARD R. DuVALL

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------x
In re:
                                                                                Chapter 11
         68 Burns New Holdings, Inc.                                            Case No.: 24-45157 (nhl)

                                                 Debtor.
-----------------------------------------------------------------------x

        Creditor, Eric Goldfine, as Trustee of the Eric Goldfine SERPT, respectfully represents
as follows:

         1.        That it is a party in interest.

       2)     That it hereby requests that ALL NOTICES OF ALL MATTERS pertaining to the
Debtor, 68 Burns New Holdings, Inc., be sent, as directed by Federal Rule of Bankruptcy
Procedure 9010(b), to counsel for Creditor Eric Goldfine SERPT to:

                             MACKEY, BUTTS & WHALEN LLP
                             Attn: Richard R. DuVall, Esq.
                             319 Mill Street
                             Poughkeepsie, New York 12601
                             Telephone: (845) 452-4000
                             Email: rduvall@mbwlawyers.com

        The foregoing demand includes not only the notices and papers pursuant to Rules 2002
and 9010(b) of the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules") and
Section 1109(b) of Chapter 11 of Title 11, United States Code, 11 U.S.C. §101 et seq. (the
"Bankruptcy Code"), but also includes all notices given or required to be given, and all papers
served or required to be served in the above-captioned Chapter 11 case, including but not
limited to, all notices, orders and notices of applications, motions, petitions, pleadings, requests,
complaints or demands, whether formal or informal, written or oral, or transmitted or conveyed
by mail delivery, telephone, telegraph, telex, facsimile or otherwise, which affect the in the
above-captioned Chapter 11 case or its property.

         Pursuant to Federal Rule of Bankruptcy Procedure 3017(a), further requests that copies
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of all plans and disclosure statements, whether formal or informal, filed herein by any party to be
served upon its attorneys at the address indicated above.

Dated: December 11, 2024                     Eric Goldfine, as Trustee of Eric Goldfine SERPT
                                             By its attorneys
                                             Mackey, Butts & Whalen LLP


                                             ______________________________
                                             Richard R. DuVall
                                             319 Mill Street
                                             Poughkeepsie, NY 12601
                                             (845) 452-4000



TO:    68 Burns New Holdings, Inc., Debtor
       70-25 Yellowstone Blvd., Suite 3D
       Forest Hills, NY 11375
